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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

IN RE

                                                               Case No. A-07-CA-164-SS
HUTTO FAMILY DETENTION CENTER
________________________________________

                         SUPPLEMENTAL REPORT OF MEDIATOR

TO:     THE HONORABLE SAM SPARKS
        UNITED STATES DISTRICT JUDGE

        This is to report that after a two-day mediation and drafting session on August 6 to 7, 2007,

the parties to the above case agreed on the specific terms of virtually all major issues in the case.

While the parties were unable to complete a full draft of the Settlement Agreement in the time

allotted, it is the undersigned’s opinion that the parties will be able to do that within days (subject

to final approval by officials representing the Defendants).

        The Clerk is directed to serve a copy of this report on all parties.

        SIGNED this 8th day of August, 2007.



                                              _____________________________________
                                              ANDREW W. AUSTIN
                                              UNITED STATES MAGISTRATE JUDGE
